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                                         UNITED STATES DISTRICT COURT
                                                                                             !!JI U.S. DISTRICT COURT
                                         EASTERN DISTRICT OF MISSOURI                        i::ttSTEAN DISTRICT OF MO
                                              EASTERN DIVISION                                         S1'. LOUIS



        UNITED STATES OF AMERICA,                           )
                                                            )
        Plaintiff,                                          )
                                                            )
        v.                                                  ) No.
                                                            )
        MARK A. BENNETT,                                    )
                                                            )
        Defendant.                                          )


                                                 INDICTMENT

                                                    COUNT I

               The Grand Jury charges that:

               At all times pertinent to the charges in this indictment:

       1.      Federal law defined the term:

               (a) "minor" to mean any person under the age of eighteen years (18 U.S.C. § 2256(a));

               (b) "sexually explicit conduct" to mean actual or simulated

                      (i) sexual intercourse, including genital-genital, oral-genital, anal-genital, or oral-

                      anal, whether between persons of the same or opposite sex,.

                      (ii) bestiality,

                      (iii) masturbation,

                      (iv) sadistic or masochistic abuse, or

                      (v) lascivious exhibition of the anus, genitals, or pubic area of any person

                      (18 U.S.C. § 2256(2)(A)); and
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            (c) "computer" to mean an electronic, magnetic, optical, electrochemical or other high ·

    speed data processing device performing logical, arithmetic or storage functions, including any

    data storage facility or communications facility directly related to or operating in conjunction

    with such device. (18 U.S.C. § 2256(6)).

            (d) "child pornography" to mean any visual depiction, including any photograph, film,

    video, picture, or _computer or computer-generated image or picture, whether made or produced

    by electronic, mechanical, or other means, of sexually explicit conduct, where--

                     (A) the production of such visual depiction involves the use of'a minor engaging

                     in sexually explicit conduct; or

                     (C) such visual depiction has been created, adapted, or modified to appear that an

    identifiable minor is engaging in sexually explicit conduct. (18 U.S.C. § 2256(8)).

    2.      The "Internet" was, and is, a computer communications network using interstate and

    foreign lines to transmit data streams, including data streams used to store, transfer and receive

    graphic files.

    3.      Between on or about January 1, 2013, and on or about September 28, 2020, in the Eastern

    District of Missouri, and elsewhere,

                                           MARK A. BENNETT,

    the defendant herein, did knowingly employ, use, persuade, induce, entice and coerces "A.B.,"

    who was a minor, to engage in sexually explicit conduct, specifically, a lascivious display of her

    genitals and sexual intercourse, for the purpose of producing visual depictions of such conduct,

    and such depictions were transmitted using any means or facility of interstate or foreign

    commerce and in or affecting interstate or foreign commerce and such depictions were produced

I   or transmitted using materials that were mailed, shipped or transported and transmitted using any
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    means or facility of interstate or foreign commerce and in and affecting interstate commerce,
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     in violation of Title 18, United States Code, Section 225l(a).

                                       FORFEITURE ALLEGATION

     The Grand Jury further .finds by probable cause that:

     1.       Pursuant to Title 18, United States Code, Section 2253, upon conviction of an offense in

     violation of Title 18, U~ited States Code, Section 2251(a) as set forth in Count 1 of the

     Indictment, the defendant shall forfeit to the United .States of America: any visual depiction as

     described in Sections 2251, 2251 A, 2252, 225 2A or 2260 of Title 18, or any book, magazine,

     periodical, film, videotape, or other matter which contains any such visual depiction, which was

     produced, transported, mailed, shipped or received in violation of Chapter 110 of Title 18; any

     property, real or personal, constituting or traceable to gross profits or other proceeds obtained

     from such offense; and any property, real or personal, used or intended to be used to commit or.

     to promote the commission of such offense or any property traceable to such property.

     2.       Specific property subject to forfeiture indudes, but is not limited to, the following:

              a.     a black Cyberpower PC computer tower, SIN ET8890-39412

     3.      If any of the property described above, as a result of any act or omission of the defendant:

              a.     cannot be located upon the exercise of due diligence;

             b.      has been transferred or sold to, or deposited with, a third party;

             c.      has been placed beyond the jurisdiction of the court;

             d.      has been substantially diminished in value; or

             e.      has been commingled with other property which cannot be divided without

             difficulty,
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               the United States of America will be entitled to the forfeittire of substitute property pursuant to

               Title 21, United States Code, Section 853(p).




                                                             A TRUE BILL.'



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 ~;               JEFFREY B JENSEN

!t                United States Attorney


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